Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 1 of 16 PageID #: 73




                     Exhibit D
                                          Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 2 of 16 PageID #: 74




The true value of
location in today’s
fleet solutions
Using location services to boost efficiency,
safety, and customer satisfaction
                                                Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 3 of 16 PageID #: 75




B    usinesses worldwide are being pushed to
enhance customer service while streamlining
costs and processes. For companies operating
                                                                                          With more than 30
                                                                                          years’ experience in
                                                                                                                               About this book
                                                                                                                               This e-book is for everyone who is
                                                                                                                               developing innovative fleet solutions
vehicle fleets —from trucks to taxis—this                                                                                      that overcome management challenges
means they must reduce operating costs,                                                   delivering location                  and help customers gain a competitive
                                                                                                                               advantage. It details a variety of planning,
improve delivery performance, and use
their existing assets more efficiently.
                                                                                          tools and data, HERE                 routing, tracking, navigation, and safety

Fleet managers look to their solution                                                     provides you with                    use cases, which are powered by maps
                                                                                                                               and location services created by HERE.
providers to help them meet these challenges
while also preparing for future growth.
                                                                                          the planning, routing,               As a leading global provider of maps and
This puts pressure on solution providers                                                  tracking, navigation,                location services for automotive, consumer,
                                                                                                                               enterprise, and government markets, HERE
to equip their offerings with the richness,
scalability, flexibility, and capabilities to                                             and safety tools to                  creates tools that drive many of the world’s
                                                                                                                               service providers, empowering transportation
deliver compelling value-add services.
                                                                                          boost efficiency and                 and logistics companies to cut costs, increase
                                                                                                                               efficiency, and exceed customer expectations.
                                                                                          enhance satisfaction                 HERE empowers service providers
                                                                                          for your customers.                  and service providers empower
                                                                                                                               transport and logistics companies.
                                                                                                                               Your customers have a choice when it comes
                                                                                                                               to which Fleet Management solution to
                                                                                                                               deploy. This eBook outlines five key ways
                                                                                                                               that you can add value to your offering and
                                                                                                                               make sure it maintains a competitive edge:
                                                                                                                               1. Optimize routing with data specific
                                                                                                                                  to heavy commercial fleets
                                                                                                                               2. Increasing asset utilization
                                                                                                                                  with real-time data
                                                                                                                               3. Helping customers meet their Service
                                                                                                                                  Level Agreements (SLAs) with better
                                                                                                                                  Estimated Times of Arrival (ETAs)
                                                                                                                               4. Lowering operational costs
                                                                                                                                  with efficient routing
                                                                                                                               5. Enhancing driver experience and
                                                                                                                                  safety with on-board features
                                                                                                                                                                                2
                     Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 4 of 16 PageID #: 76




01.
Optimize routing with
data specific to heavy
commercial fleets                                           W         hen managing large commercial fleets,
                                                               it’s essential that each vehicle gets where
                                                               it needs to be, on time and on budget.
                                                               Delays caused by diversions, roadworks or
                                                               changes in itinerary are not only expensive
                                                               for the fleet operator in terms of fuel
                                                               and driver time/wages, but they can also
                                                               risk company reputation through missed
                                                               SLAs. They can even be dangerous if, for
                                                               example, a large truck tries to drive down
                                                               a narrow country road and gets stuck.
                                                               Many navigation tools don’t take size, weight
                                                               and other restrictions specific to trucks into
                                                               account when they plan a route, meaning
                                                               companies that use them may require              HERE is the only location
                                                               dispatchers to do a lot of manual checking
                                                               to ensure a route is safe. Alternatively the     service provider with
                                                               burden may fall on the driver to work out
                                                               the best alternative if their planned route      exclusive truck routing,
                                                               is closed, and when they’re a long way from
                                                               home this may come down to guess work.
                                                                                                                which makes it possible
                                                                                                                to plan optimal routes
                                                                                                                based on truck attributes
                                                                                                                like maximum height
                                                                                                                and weight clearance.
                                                                                                                                            3
                                                       Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 5 of 16 PageID #: 77




With HERE Technologies, your
solution can empower heavy
commercial fleet customers to:
• Optimize each route for truck-specific
  attributes which include all physical, legal and
  hazmat restrictions and truck speed profiles.
                                                                                                 You can build these
• Configure destinations along the route,                                                        capabilities into your
  such as pick-up and drop-off points, in
  an optimal sequence considering traffic
                                                                                                 solution using the HERE
  conditions, vehicle profile, etc.                                                              Platform and our high
• Gain additional insight about the road with
  traffic lights, height, slope, and road geometry,
                                                                                                 quality map data.
  speed limits etc. along the planned route.
                                                                                                 • Waypoints Sequence Extension:
• Track mobile assets with greater insight on
  truck restrictions around their current locations.                                               Create the optimal sequence of a given
                                                                                                   set of waypoints based on time or
                                                                                                   distance traveled, and take into account
                                                                                                   specific delivery timeslots at individual      Customer Success:
                                                                                                   drop-off locations. This enables               Frotcom
                                                                                                   dispatchers to improve asset utilization       Based in Portugal,
                                                                                                   by calculating the optimal route sequence      Frotcom has created
                                                                                                   for one vehicle, and to re-sequence            a fleet management
                                                                                                   routes as requirements change.                 application that is
                                                                                                 • Truck Attributes Layer: Plan for truck         used by customers
                                                                                                   routing using a rich set of truck-specific     around the world.
                                                                                                   attributes for the transport and logistics     It uses the HERE
                                                                                                   industry. Truck attributes include physical,   Platform for
                                                                                                   legal and hazmat restrictions, displayed by    Business to enable
                                                                                                   type and value (eg. bridge height 4.5m).       truck routing and
                                                                                                                                                  navigation for
                                                                                                 • Truck Routing Layer: Improve route             drivers, helping
                                                                                                   calculations through visibility of             to ensure that
                                                                                                   restrictions applicable to trucks.             customers’ large
                                                                                                 • HERE Geocoder: Accurately track                trucks always take
                                                                                                   vehicles and trucks using reverse              the safest, most
                                                                                                   geocoding, which turns current                 efficient route.
                                                                                                   locations into points on the map.
                                                                                                                                                                        4
                   Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 6 of 16 PageID #: 78




02.
Increase asset
utilization with
real-time data                                             E       ach fleet vehicle is a revenue-generating
                                                             asset. If it’s on the road doing its job, it’s
                                                             contributing to company income. However,
                                                             if it’s stationary—in a warehouse or stuck
                                                             in traffic—the company may lose out. A
                                                             delayed service or missed SLA can impact
                                                             revenue and incur higher operating costs.
                                                             Fleet managers responsible for a finite
                                                             number of fleet assets must therefore
                                                             ensure each one is utilized as efficiently
                                                             as possible. This is particularly important
                                                             in the light fleet/delivery market, such as       Unlike other location
                                                             grocery delivery or ride-hailing services,
                                                             but it is also an important concern for           service providers, HERE
                                                             heavy fleet organizations, especially those
                                                             that provide transit capacity on-demand.
                                                                                                               offers access to real-time
                                                             Effective fleet planning ensures that a           data such as split-lane
                                                             company’s fixed number of available
                                                             vehicle assets are optimized for uptime           traffic information,
                                                             availability and assigned the most efficient
                                                             route sequences. It also helps dispatchers
                                                                                                               traffic safety alerts, and
                                                             ensure that each vehicle is able to make          weather, allowing your
                                                             the maximum safe number of journeys
                                                             per day or per driver shift. To do this,          customers to make
                                                             fleet managers need real-time tracking to
                                                             know where their fleet vehicles are, if they      better decisions and
                                                             are where they should be, and which are
                                                             nearest to new destination addresses.
                                                                                                               increase asset utilization.
                                                                                                                                             5
                                                                            Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 7 of 16 PageID #: 79




Help your customers                             By leveraging its capabilities in your
                                                solution, you can enable them to:
optimize routes to                              • Plan for better allocation of
achieve lower fuel costs,                         resources by generating isoline
                                                  polygons based on drive times and
reduced emissions, less                           distances. Optimize for uptime
                                                  availability and assigning the
                                                                                                                                                      Customer Success: Geotab
                                                                                                                                                                                   You can build these capabilities into your
                                                                                                                                                      Geotab is a leading fleet
asset wear-and-tear,                              most efficient route sequences.                                                                     tracking solution provider   fleet and asset management solution
                                                                                                                                                      in North America. Using      using the following components of
and reduced driver                              • Optimize routes for traffic to
                                                  calculate more accurate ETAs                                                                        Basic Routing and Speed      the HERE Platform for Business:
hours of service.                               • Gain additional insight about the
                                                                                                                                                      Limits content from
                                                                                                                                                      the HERE Platform for        • Traffic and Weather-enabled Matrix
                                                                                                                                                      Business, it provides          Routing: Visualize real-time traffic and
                                                  road with traffic lights, height, slope,
                                                                                                                                                      its customers with a           weather conditions along the route to
                                                  and road geometry, speed limits,
                                                                                                                                                      premium, enterprise-           optimize assets for the entire fleet.
                                                  etc. along the planned route.
                                                                                                                                                      grade solution for           • Waypoints Sequence Extension:
                                                • Visualize mobile assets on                                                                          tracking and routing.          Calculate optimal route sequences
                                                  accurate, comprehensive and highly                                                                  It also offers real-time       for one truck or delivery van.
                                                  interactive maps with traditional and                                                               speed limit violation
                                                  specialized map views that are built                                                                alerts for drivers using     • Geofence Extension: Know when moving
                                                  for fleet management applications.                                                                  its mobile app.                assets enter or leave a geographic
                                                                                                                                                                                     area. Use calculated isoline (drive-
                                                • Configure destinations along
                                                                                                                                                                                     time) areas, buffered route corridors
                                                  the route, such as pick-up and
                                                                                                                                                                                     and HERE boundaries (administrative,
                                                  drop-off points, in an optimal
                                                                                                                                                                                     postal, census) as geofence shapes.
                                                  sequence considering traffic                                                                        Customer Success:
                                                  conditions, vehicle profile, etc.                                                                   EasyTaxi                     • HERE Geocoder: Use isoline routing and
                                                                                                                                                      EasyTaxi is a taxi and         reverse geocoding to let fleet managers
                                                • Increase business profitability
                                                                                                                                                      e-hailing business with        accurately track their vehicles and select
                                                  through more efficient use of fleet
                                                                                                                                                      operations in over 30          the nearest one that can be dispatched
                                                  and reduced downtime, and the
                                                                                                                                                      countries. It integrated       to a new delivery address. Improve
                                                  use of traffic-enabled routing.
                                                                                                                                                      the HERE Platform into         destination address input and mapping.
                                                                                                                                                      its solution, leveraging     • Isoline Routing Layer: Plan for better
                                                                                                                                                      the traffic, geocoding         driver and vehicle allocation by generating
                                                                                                                                                      and routing capabilities       areas based on set drive times or
                                                                                                                                                      to improve accuracy            distances. Identify the truck, delivery van
                                                                                                                                                      by 50%. Within the first       or service vehicle closest to each new
                                                                                                                                                      six months, drivers            location to reach destinations faster.
                                                                                                                                                      reported that they
                                                                                                                                                      could better pinpoint        • Toll Cost Extension: Calculate an accurate
Optimal routes ensure lower fuel costs, reduced emissions,                                                                                            exact addresses.               estimate of trip costs, taking into account
less asset wear-and-tear, and reduced driver hours of service                                                                                                                        various vehicle profiles and toll systems.
                                                                                                                                                                                                                                   6
                     Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 8 of 16 PageID #: 80




03.
Help customers
meet their service
level agreements
with better ETAs                                             W         hether they’re taking tons of stock
                                                               to a warehouse, or delivering pizza to
                                                               students working late, your customers
                                                               need to be on time. For heavy vehicle
                                                               fleets, this may be because the truck needs     With the largest
                                                               to deliver containers to a port in time
                                                               for loading onto a ship, and must avoid         coverage of the
                                                               the penalty charges that are imposed for
                                                               early or late arrival. For a light fleet, the   global road network,
                                                               need to keep to schedule may be driven
                                                               by increasingly high expectations around
                                                                                                               speed limits and traf-
                                                               customer experience and quality of service.     fic-enabled routing,
                                                               Many fleet operators therefore
                                                               commit to strict SLAs with their end
                                                                                                               HERE enables your
                                                               customers, guaranteeing to provide
                                                               and stick to an ETA for each journey.
                                                                                                               customers to calculate
                                                               The ability to accurately meet scheduled        and communicate
                                                               ETAs while maximizing asset utilization
                                                               and calculating the greatest route
                                                                                                               more accurate ETAs
                                                               efficiency retains customers and saves          and shipping costs
                                                               money. As more fleet solution providers
                                                               add routing to their set of capabilities,       to help improve
                                                               a key differentiator will be your ability
                                                               to help them calculate the best ETAs.           end-user satisfaction.
                                                                                                                                        7
                                                                               Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 9 of 16 PageID #: 81




  Using HERE                                        Milwaukee, WI, USA
  technologies in your
  fleet management                                  Kenosha, WI, USA


  solution helps your                               Cicero, IL USA

  customers make                                    Hammond, IN, USA
  sure they never
  miss a deadline.                           Departure Time:
                                             Distance:
                                                                       6:30am, Tuesday, March 8
                                                                                     137.52 miles
• Plan for better ETAs by taking as
  input current traffic flow conditions
                                             ETA: o Traffic                          02h 53 mins
  and historical traffic patterns.
• Monitor and influence driver               ETA: Current Conditions                 03h 31 mins
  speeds, alerting them to speed
                                             ETA: Predictive Traffic                 03h 19 mins
  limit restrictions when required.
                                             ETA: Historical Conditions              03h 01 mins
• Get the highest level of destination
                                                                                                                            Communicate with light fleet operators to plan new
  selection and “to the door”
                                                                                                                            deliveries and set ETAs quickly and accurately
  arrival accuracy and ensure that
  their customer’s on-time arrival                       Depart 15 mins Later
                                               !         Accident on I-94 to clear
  requirements are always met.
                                                                                                                           For heavy fleet and trucks:                           For light fleet and
                                          Keep heavy fleets on schedule with
                                          real-time ETA updates to drivers                                               • Meet committed delivery windows.                      local deliveries:
                                                                                                                         • Accurately calculate each driver’s daily         • Hit time windows to ensure
                                                                                                                           hours of service, including finding                customer satisfaction.
                                                                                                                           parking at the end of day, helping
                                                                                                                           avoid fines and keep drivers safe.               • Optimize asset utilization– one
                                                                                                                                                                              more pick-up or delivery per
                                                                                                                         • Support Just-in-Time Delivery for                  day can yield big rewards.
                                                                                                                           Agile Manufacturing scenarios.
                                                                                                                                                                            • Track and continuously improve
                                                                                                                         • Avoid time delays and fines for lengthy            delivery process and drive times.
                                                                                                                           waits at large logistics hubs.
                                                                                                                         • Increase asset utilization by ensuring
                                                                                                                           each vehicle can make the maximum
                                                                                                                           possible journeys per day.
                                                                                                                                                                                                                  8
                                                      Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 10 of 16 PageID #: 82




  Take advantage of HERE’s rich                                                                                                                                   • Waypoint Sequence Extension: Configure
  features and functionality to build                                                                                                 Customer Success:
                                                                                                                                      Fleetboard
                                                                                                                                                                    all the pick-up and drop-off points
                                                                                                                                                                    along the route taken by one truck or
  strong ETA capabilities into your                                                                                                   Daimler Fleetboard is
                                                                                                                                                                    delivery van in an optimal sequence
                                                                                                                                                                    given traffic conditions and the profile
                                                                                                                                      one of the European
  fleet management solutions:                                                                                                         market leaders in
                                                                                                                                                                    of the vehicle, taking into account
                                                                                                                                                                    delivery/pick-up time windows.
                                                                                                                                      commercial vehicle
• HERE Traffic: A key component in calculating                                                                                        telematics. Powered         • HERE Routing API: Calculate accurate
  the most accurate ETAs. HERE offers real-                                                                                           by the HERE Platform          ETAs for each truck or delivery vehicle
  time traffic flow and incidents, predictive                                                                                         for Business, the             by optimizing for current traffic flow
  traffic flow, historic traffic patterns, and                                                                                        solution provider             conditions, speed profiles, and historical
  innovations such as split-level traffic,                                                                                            offers tracking, routing,     patterns. Use real-time traffic conditions
  reversible lanes, and traffic safety alerts.                                                                                        ETA prediction, driver        for the first 60 minutes of a route, and
                                                                                                                                      monitoring and display        historical patterns beyond 60 minutes
• Isoline Routing Layer: Plan for better driver and                                                                                   of customer points of         or for routes planned for the future.
  vehicle allocation by generating areas based on                                                                                     interest and locations
  set drive times or distances. Identify the truck,                                                                                   of service partners.        • HERE Geocoder and Geofencing:
  delivery van or service vehicle closest to each                                                                                                                   The HERE Reverse Geocoding Service
  new location to reach destinations faster.                                                                                                                        accurately tracks the real-time location
                                                                                                                                                                    of vehicles, trucks and goods. The HERE
• Truck Routing Layer: Calculate the best
                                                                                                                                                                    Geofencing Extension defines virtual
  route for each truck or delivery vehicle by
                                                                                                                                                                    perimeters around pick-up or delivery
  optimizing for truck-specific attributes,
                                                                                                                                                                    locations based on drive-time areas,
  including all physical, legal, and hazmat                                                                                           Customer                      and automatically alerts customers with
  restrictions and truck speed profiles.                                                                                              Success: Grab                 updated ETAs when a truck or delivery
                                                                                                                                      Grab is a popular taxi        vehicle has entered the virtual perimeter.
                                                                                                                                      dispatching app serving     • HERE Mobile SDK and Fleet Connectivity:
                                                                                                                                      both passengers and           Develop your own mobile navigation
                                                                                                                                      drivers in six countries      applications, and provide true offline
                                                                                                                                      across Southeast Asia.        usage and access real-time, voice-
                                                                                                                                      Available on Android,         guided turn-by-turn instructions for
                                                                                                                                      iOS and Blackberry            vehicles and trucks, including dynamic
                                                                                                                                      platforms, the app            ETAs. The HERE Fleet Connectivity
                                                                                                                                      harnesses the power           Extension connects the back-end
                                                                                                                                      of the HERE Platform          system and the navigation application
                                                                                                                                      for Business to identify,     running on the driver’s handheld
                                                                                                                                      assign and book the           device and enables your customers to
                                                                                                                                      cabs that are closest to      monitor all driver ETAs, automatically
                                                                                                                                      the passenger, ensuring       updating as traffic conditions change.
                                                                                                                                      that wait times are as        Communication between dispatcher
                                                                                                                                      short as possible.            and driver improves as a result.
                                                                                                                                                                                                                 9
                    Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 11 of 16 PageID #: 83




04.
Lower operational costs
with efficient routing
                                                                                                                        Calculate the best route for your customer



                                                           W
                                                                                                                      and provide them with the competitive edge


                                                                    hile meeting deadlines is essential to      By leveraging the HERE
                                                             success, fleet operators must ensure that happy
                                                             customers don’t reduce business productivity.      Platform as part of
                                                             Effective routing not only provides more
                                                             accurate ETAs but is also an important tool
                                                                                                                your fleet management
                                                             in reducing fleet costs. Fewer miles traveled
                                                             translates directly to lower costs from reduced
                                                                                                                solutions, you can empower
                                                             fuel costs and wear-and-tear on the vehicle,       your customers to:
                                                             while also minimizing driver hours of service.
                                                                                                               • Plan with greater accuracy by translating
                                                             Traffic-enabled routing provides the best
                                                                                                                 custom addresses like pick-up points
                                                             way to complete deliveries in the shortest          and drop-off points onto a rich,
                                                             time possible, while taking toll costs into         accurate and comprehensive map.
                                                             account can help fleet solution providers
                                                             calculate the lowest total cost routes.           • Calculate the best route for the truck or
                                                                                                                 delivery van to drive to customer addresses,
                                                                                                                 pick-up points and drop-off points.
                                                                                                               • Receive alerts in a timely manner
                                                                                                                 when a mobile asset enters or leaves
                                                                                                                 a predefined geofenced area.

                                                                                                                                                                 10
                               Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 12 of 16 PageID #: 84




As the only platform with
key routing efficiency
such as isoline routing,
customizable geofencing,
                                                                                                                                        Technology features
and toll cost analysis, HERE                                                                                   Customer Success:
                                                                                                               TimoCom                  from the HERE Platform
enables your customers                                                                                         TimoCom is one
                                                                                                                                        that help increase
to plan the optimal route                                                                                      of the leading
                                                                                                               European IT services     efficiency and lower
based on travel time, fuel                                                                                     providers for the
                                                                                                               transportation           operational costs in
costs and road tolls.                                                                                          industry. TimoCom
                                                                                                               integrated the           order to add value to
                                                                                                               HERE Platform
                                                                                                               into TC eMap, its        your solutions include:
                                                                                                               logistics planning
                                                                                                               program, to enable     • Isoline Routing: Plan for better driver
                                                                                                               customers to make        and vehicle allocation by generating
                                                                                                               more timely and          areas based on set drive times or
                                                                                                               informed logistics       distances. Identify the truck, delivery van
                                                                                                               decisions. Robust        or service vehicle closest to each new
                                                                                                               and enterprise-          location to reach destinations faster.
                                                                                                               grade location         • Toll Cost Extension: Calculate an accurate
                                                                                                               services from HERE       estimate of trip costs, taking into account
                                                                                                               enable TimoCom           various vehicle profiles and toll systems.
                                                                                                               to offer real-time
                                                                                                               access to truck and    • Geofence Extension: Know when moving
                                                                                                               route information,       assets enter or leave a geographic
                                                                                                               and so optimize          area. Use calculated isoline (drive-
                                                                                                               decisions about          time) areas, buffered route corridors,
                                                                                                               which assets to use,     and HERE boundaries (administrative,
                                                                                                               when and where.          postal, census) as geofence shapes.
                                                                                                                                      • Fleet Connectivity Extension: Enhance
                                                                                                                                        communication - and accelerate
                                                                                                                                        automated dispatch - by enabling
                                                                                                                                        connectivity between the backend
                                                                                                                                        system and the navigation application
                                                                                                                                        on the driver’s handheld device.
                                                                                                                                                                                      11
                    Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 13 of 16 PageID #: 85




05.
Enhance driver
experience and safety
with onboard features                                       E      very employee needs to know that
                                                              their safety is a priority in their workplace.
                                                              This is especially true of fleet drivers, who
                                                              spend many hours behind the wheel and
                                                              may also be required to operate heavy
                                                              or potentially dangerous equipment.
                                                              Safety is an important concern for the wider
                                                              business as well. It can have a significant
                                                              impact on company reputation, compliance
                                                              and, ultimately, the bottom line. Fleet
                                                              operators are increasingly looking to improve
                                                              safety in real-time in order to stay ahead of
                                                              these considerations. As well as identifying
                                                              safety breaches in real-time, they also want
                                                                                                               With customizable mobile
                                                              to quantify risk over time and use post-         applications that integrate
                                                              trip driver behavior analysis to better train
                                                              new recruits and dismiss unsafe drivers.         rerouting, geofencing, and
                                                                                                               real-time traffic, HERE
                                                                                                               empowers your customers
                                                                                                               to analyze driver behavior,
                                                                                                               mitigate risks, and increase
                                                                                                               driver retention rates.
                                                                                                                                              12
                                                                          Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 14 of 16 PageID #: 86




  With real-time data                                                                                                                                                                                      Driver vs Ambient Speed

  capture and access to                                                                                                                                                                       140


                                                                                                                                                                                              120
                                                                                                                                                                                                    Agressive

  HERE’s historical map and




                                                                                                                                                                       Driver Speed (km/ph)
                                                                                                                                                                                              100


  traffic data resources, you                                                                                                                                                                 80



  can help your customers:                                                                                                                                                                    60


                                                                                                                                                                                              40

• Plan for safety by being aware of slope,
  height, road geometry, and other information                                                                      In addition to making                                                     20
                                                                                                                                                                                                                                     Passive
  for the route before setting out.                                                                                 drivers safer, your                                                        0      20        40    60      80     100   120

                                                                                                                                                                                                             Ambient Speed (km/ph)
• Analyze for safety by identifying speeding
  violations, other road usage violations,                                                                          customers can use
                                                                                                                                                                                    Distance Travelled                     Illegal Maneuvers Detected
  and also violations of company policy.                                                                            our high quality data                                                128 Miles                          1 suspected illegal U-Turn

• Compare observed driver behaviors to:
                                                                                                                    analytics to improve                             Traffic Lights encountered
                                                                                                                                                                                   8
                                                                                                                                                                                                                                Speeding Events
                                                                                                                                                                                                                                      4
  » Legal requirements
    (e.g. posted speed limits)                                                                                      job satisfaction:                                                         Urban vs. Rural
                                                                                                                                                                                                  100%
                                                                                                                                                                                                                               Total Drive Score
                                                                                                                                                                                                                                    73/100
  » Road features and conditions (e.g. slope                                                                                                                                Controlled Access %                             Monthly Average Score
    and curvature of the road, weather)                                                                          • Empower the driver with turn-by-turn                             89%                                           84/100
                                                                                                                   navigation to reach destinations on time.
  » Behaviors of surrounding drivers (e.g. real-
    time traffic conditions and free-flow speeds)                                                                • Complete offline functionality                  Create a full report for each journey
                                                                                                                   ensures access to mapping, search,              and build up an understanding
• Analyze driver behavior data to quantify                                                                         routing, and guidance in areas with             of trends over time
  risk, detect illegal manoeuvres and provide                                                                      limited network connectivity.
  real-time feedback (such as alerts or
  individualized safety scores) to drivers.                                                                      • Deliver prompt destination updates
                                                                                                                   during the trip, eliminating the need
• Match GPS traces to actual driven street                                                                         to manually type in addresses.
  segments and reduce instances of
  matching to wrong streets. This can then                                                                       • Provide the driver with greater visibility
  be used as a base for further analysis.                                                                          into physical, legal, and hazmat restrictions
                                                                                                                   along the route, as well as visual details
• Visualize and analyze the entire fleet,                                                                          of the actual locations of loading and
  trips, logistics hubs, etc. to aid in                                                                            unloading docks at the destination.
  overall strategic management.
                                                                                                                 • Accurately calculate each driver’s daily
                                                    Analyze and score driver behavior                              hours of service, including finding
                                                    to identify and address potential                              parking at the end of day, helping
                                                    risks and encourage safe driving                               avoid fines and keep drivers safe.
                                                                                                                                                                                                                                                         13
                                                                        Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 15 of 16 PageID #: 87




  Deliver real-time and
  historical analytics to
  enhance safety and driver
  satisfaction using the
  following HERE Platform
  for Business features:
• Geofence Extension: Know when moving
  assets enter or leave a geographic             Customer Success:
  area. Use calculated isoline (drive-           Teletrac Navman
  time) areas, buffered route corridors,         Teletrac Navman
  and HERE boundaries (administrative,           developed a safety-
  postal, census) as geofence shapes.            focused post-trip
                                                 analysis product
                                                                                                                  How HERE delivers value to fleet
• HERE Mobile SDK: Provide true offline
  usage for reliable always-on coverage,         to provide fleet
                                                 customers with
                                                                                                                  management solution providers:
  even when the driver is out of phone
  reception. Access real-time, voice-guided      feedback on driver
  turn-by-turn navigation, and visualize         behaviour, in order
                                                                                                                         Differentiate from             ü Expand your capabilities.
  last-minute destination information.           to monitor and
                                                                                                                          the competition               ü Higher quality maps; truck attributes and routing.
                                                 mitigate driver
• Platform Data Extension: Perform               risk. Using multiple
  detailed driver-behavior analysis for          HERE technologies,
  safety scoring and mitigation.                 it now provides                                                          Build enterprise-             ü Enterprise-grade features, performance and support.
                                                 accurate speed                                                            grade products               ü Global scale and reliability.
• Route Match Extension: Compute                 limits and traffic
  most probable route traversed, enable          signs to compare
  accurate driver behavior analysis,             against observed                                                                                       ü Modular Platform APIs or content, self-hosted option available.
                                                                                                                         Develop with ease
  and detect illegal manoeuvres.                 driver speeds                                                             and flexibility              ü Agnostic location experiences acress devices and operating systems.
• Toll Cost Extension: Validate toll receipts.   and behaviour. It
                                                 was also able to
• HERE speed limit and other map and traffic     rapidly develop and                                                                                    ü Flexible licensing models, designed to help you grow your business rapidly.
  datasets: Improve safety through real-time     operate a driver                                                     Ease of doing business
                                                                                                                                                        ü Unmatched technical and customer support.
  feedback and so influence driver safety.       safety product.

                                                                                                                                                        ü Leading independant pure-play global location services provider.
                                                                                                                      A partner to grow with            ü Innovative road map with a focus on mobile asset management businesses.
                                                                                                                                                        ü Global leader in connected, highly automated and autonomous driving.
                                                                                                                                                                                                                                        14
Case 1:20-cv-00752-UNA Document 1-4 Filed 06/04/20 Page 16 of 16 PageID #: 88




                                                                        About HERE Technologies
                                                                        HERE Technologies, the Open Location Platform company, enables people, enterprises
                                                                        and cities to harness the power of location. By making sense of the world through the
                                                                        lens of location we empower our customers to achieve better outcomes – from helping
                                                                        a city manage its infrastructure or an enterprise optimize its assets to guiding drivers
                                                                        to their destination safely. To learn more about HERE, including our new generation of
                                                                        cloud-based location platform services, visit http://360.here.com and www.here.com.


                                          Speed limits may include posted, conditional, variable, and truck-specific limits.
                                          Learn more about how HERE can help you deliver innovative, future-ready Fleet Management solutions today.

                                          Visit here.com/en/industries/asset-management-logistics/fleet-management
                                          Or request a demo: engage.here.com/fleet-management-solutions-request-demo?_ga=1.227698142.2145210165.1481135288



                                                                                                                                                        © 2017 HERE   15
